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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                                 :               CHAPTER 7
                                                       :
BOBBY MANALCUS WILBANKS,                               :               CASE NO. 10-60990-WLH
KIMBERLY ANN WILBANKS                                  :
                                                       :
         Debtors.                                      :


      NOTICE OF PLEADINGS, DEADLINES TO OBJECT, AND FOR HEARINGS

        PLEASE TAKE NOTICE THAT on February 2, 2021, S. Gregory Hays, Chapter 7
Trustee (“Trustee”) for the estates (collectively, the “Estate”) of Bobby Manalcus Wilbanks and
Kimberly Ann Wilbanks (collectively, “Debtors”), filed a Motion for Approval of Settlement of
Product Liability Claim under Rule 9019 of the Federal Rules of Bankruptcy Procedure and
Request to Make Certain Payments in Accordance with Same [Doc. No. 76] (the “Settlement
Motion”) and Trustee’s Application for Final Compensation of Special Counsel and Request for
Authorization to Pay Compensation [Doc. No. 77] (the “Application”). In the Settlement
Motion, Trustee seeks approval of a settlement of a certain multi-district product liability litigation
claim of the Estate with a payment of $80,000.00, gross, which after payment of various liens and
other expenses will result in a net of $42,232.84 coming into the Estate. In the Application,
Trustee seeks final approval of compensation for Ford & Associates Nationwide Legal Services,
APC (“Ford”), Goldwater Law Firm (“Goldwater”), and Bertram & Graf, LLC (“B&G”,
together with Ford and Goldwater, “Special Counsel”) for fees in the amount of $29,901.76 (the
specific amount that each firm will receive is set forth in the Application) and expenses in the
amount of $541.52 for services rendered in the prosecution of the lawsuit.

        Pursuant to General Order No. 24-2018, the Court may consider these matters without
further notice or a hearing if no party in interest files a response or objection within twenty-one
(21) days from the date of service of this notice. If you object to the relief requested in the
Settlement Motion or Application, you must timely file your objection with the Bankruptcy
Clerk at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, S.W.,
Atlanta, Georgia 30303, and serve a copy on the Trustee's attorney, Michael J. Bargar, Arnall
Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, Georgia 30363, and any other
appropriate persons by the objection deadline. The response or objection must explain your
position and be actually received by the Bankruptcy Clerk within the required time.

       Hearings on the Settlement Motion and Application have been scheduled for March 18,
2021 at 10:30 a.m., in Courtroom 1403, United States Courthouse, 75 Ted Turner Drive, S.W.,
Atlanta, Georgia. If an objection or response is timely filed and served, the hearing will proceed
as scheduled. If you do not file a response or objection within the time permitted, the Court
may grant the relief requested without further notice or hearing provided that an order



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approving the relief requested is entered at least one business day prior to the scheduled hearing.
If no objection is timely filed, but no order is entered granting the relief requested at least one
business day prior to the hearings, the hearings will be held at the time and place as scheduled.

        Given the current public health crisis, hearings may be telephonic only. Please check the
“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the
top of the GANB Website prior to the hearing for instructions on whether to appear in person or
by phone.”

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. If you do not have an
attorney, you may wish to consult one.
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Dated: February 2, 2021.


                                             ARNALL GOLDEN GREGORY LLP
                                             Attorneys for Trustee

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